






Opinion issued January 9, 2009


					 













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00237-CR

____________


IN RE JOHN WAYNE BATES, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION


	Relator has filed a pro se petition writ of mandamus.  In his petition relator
complains that  respondent (1) has not ruled on his Second Motion fro DNA testing . 
We deny relief.

	The petition for writ of mandamus is therefore denied.

 

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Nuchia (2) and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).
1.    	The Honorable Susan Criss, Judge, 212th District Court, Galveston
County, Texas.
2.    	Justice Sam Nuchia, who retired from the First Court of Appeals on
January 1, 2009, continues to sit by assignment for the disposition of
this case, which was submitted on January 8, 2009.

 


